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 4
     Attorney for Defendant
 5   SANDRA HERMOSILLO

 6                    IN THE UNITED STATES DISTRICT COURT FOR THE

 7                              EASTERN DISTRICT OF CALIFORNIA

 8
     ______________________________________
 9   UNITED STATES OF AMERICA,                          Case No. 2:11-CR-00296 WBS
                                                        STIPULATION AND
10                              Plaintiff,              ORDER TO ALLOW
                                                        DEFENDANT TO TRAVEL TO
11   v.                                                 MEXICO TO VISIT HER FATHER

12
     SANDRA HERMOSILLO,
13
                             Defendant.
14   _______________________________________

15

16                                       STIPULATION

17                        Plaintiff, United States of America, by and through its

18   counsel, Assistant United States Lee Bickley, and Defendant, Sandra

19   Hermosillo, by and through her counsel, Erin J. Radekin, hereby stipulate

20   that Ms. Hermosillo may, with the permission of her pre-trial services

21   officer, and pursuant to such conditions as required by her pre-trial

22   services officer, travel to Mexico at any time between the dates of January

23   30, 2014 and February 10, 2014 to visit her father, who has Alzheimer’s

24   disease and is rapidly losing the ability to recognize members of his family,

25   and is suffering from other health issues.     It is further stipulated that Ms.

26   Hermosillo must check in with her pre-trial services officer as required by

27   her pre-trial services officer.     Pre-trial services shall return Ms.

28   Hermosillo’s passport to her by January 30, 2014.     Ms. Hermosillo must return



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 1   to the United States by February 10, 2014 and must check in and surrender her

 2   passport to her pre-trial services officer within 24 hours of returning to

 3   the United States, but in no event later than February 11, 2014.

 4                       Accordingly, the parties respectfully request the Court

 5   adopt this proposed stipulation.

 6   IT IS SO STIPULATED

 7
     Dated: January 27, 2014                      BENJAMIN WAGNER
 8                                                United States Attorney

 9                                                 By: /s/ Lee Bickley
                                                  LEE BICKLEY
10                                                Assistant United States Attorney

11

12
     Dated: January 27, 2014                   /s/ Erin J. Radekin
13                                                ERIN J. RADEKIN
                                                  Attorney for Defendant
14                                                SANDRA HERMOSILLO

15
     IT IS SO STIPULATED.
16
                                     ORDER
17
     IT IS SO ORDERED.
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     Dated:   January 29, 2014
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                                        [Pleading Title] - 2
